  Case 2:02-cv-00081-FCD-JFM Document 45 Filed 04/29/09 Page 1 of 1
            SupremeCourtoftheUnited States
                  OfficeoftheClerk
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     Re: MichaelAnthony
         v.GailLewis,Warden
         No.08-9114
         (YourNo.06-15316)
DearClerk:
     TheComttodayenteredthefollowingorderintheabove-entitledcase:
     Thepetitionforawritofcertiorariisdenied.

                                  Sincerely,
                                        **       l
                                                         I
                                  William K.Suter,Clerk
